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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FT. LAUDERDALE DIVISION



  JESSICA KERR and DA’VID ABELLARD,

                 Plaintiffs,                               Case No.: 22-CV-60929-RAR
  v.

  ESURANCE INSURANCE COMPANY,

                 Defendant
                                                      /

                   ESURANCE INSURANCE COMPANY’S
   MOTION TO STRIKE COUNTER-DEFENDANT’S AFFIRMATIVE DEFENSES AND
              REPLY TO ESURANCE’S AFFIRMATIVE DEFENSES

         Defendant, Esurance Insurance Company (“Esurance” or “Counter-Plaintiff”), pursuant to

  Fed. R. Civ. P. 7(a), 8(a), 8(c) and 12(f), moves the Court to strike the affirmative defenses of

  Plaintiffs, Jessica Kerr (“Kerr”) and Da’vid Abellard (“Abellard”) (collectively, “Counter-

  Defendants”) and to strike Counter-Defendants’ reply to Esurance’s affirmative defenses to

  Counter-Defendants’ abated bad faith claim. In support thereof, Esurance states:

         I.      BACKGROUND AND PROCEDURAL POSTURE

         This coverage action arises from an automobile accident and ensuing tort lawsuit filed by

  Counter-Defendants in the Circuit Court of the Seventeenth Judicial Circuit in and for Broward

  County, Florida, styled David Abellard and Jessica Kerr v. Jennifer L. Carter, Robert A. Carter,

  Ricardo Delavina, and Gina Delavina, Case No. CACE-14-016842 (“underlying lawsuit”). In that

  underlying lawsuit, Counter-Defendants obtained a multi-million dollar final judgment against

  Jennifer Carter (“J. Carter”) and Robert Carter (“R. Carter”), which judgment was substantially in

  excess of Esurance’s policy limits. Before the underlying lawsuit was filed and before final

  judgment was entered, however, Esurance had denied coverage and defense obligations due to a

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  Named Driver Exclusion Endorsement in Esurance’s policy. That exclusion barred coverage for

  all claims arising out of an accident involving a motor vehicle operated by J. Carter, which

  occurred here.

         Subsequently, without any determination of coverage in their favor and without an

  assignment of any rights from J. Carter or R. Carter, Counter-Defendants initiated a bad faith

  lawsuit against Esurance for its purported wrongdoings in connection with the underlying lawsuit

  and the subject accident. See [D.E. 1-1]. Esurance removed the instant lawsuit to this Court, see

  [D.E. 1], and thereafter filed counterclaims and third-party complaint for declaratory relief against

  Counter-Defendants. See [D.E. 21]. Esurance also moved to stay or abate Counter-Defendants’

  bad faith claim pending adjudication of the outstanding coverage issues presented in Esurance’s

  counterclaims. See [D.E. 24].

         On August 2, 2022, following oral argument, the Court entered an Omnibus Order staying

  Counter-Defendants’ bad faith claim pending adjudication of the coverage issues as to Esurance’s

  duty to indemnify. See [D.E. 42]. The Court explained that “[a]s discussed on the record at the

  Hearing, it is well settled in Florida law that in third-party insurance cases, a court must determine

  coverage and liability issues before reaching the issue of bad faith.” See id. at 1. The Court likewise

  ordered Esurance to file an amended answer, affirmative defenses, counterclaim, and third-party

  complaint, see id. at 2, which Esurance did on August 12, 2022. See [D.E. 43]. The Omnibus Order

  also directed Counter-Defendants to file an answer or response to Esurance’s amended

  counterclaim within fourteen days of its filing. See [D.E. 42 at 2]. The Omnibus Order, however,

  did not authorize Counter-Defendants to file a reply to Esurance’s affirmative defenses to Counter-

  Defendants’ then-pending bad faith complaint.




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         On August 18, 2022, Counter-Defendants filed their Answer and Affirmative Defenses to

  Esurance’s Amended Counterclaim and Reply to Esurance’s Affirmative Defenses. See [D.E. 44].

  In their pleading, Counter-Defendants purport to assert nine (9) affirmative defenses against

  Esurance. As set forth below, each of these affirmative defenses is legally insufficient and should

  be stricken. The Omnibus Order never authorized Counter-Defendants to inject bad faith matters

  into the instant coverage dispute. In fact, it held the opposite. Nonetheless, Counter-Defendants’

  pleading disregards the Court’s Omnibus Order by unabashedly raising bad faith-type affirmative

  defenses. Plaintiffs, similarly, were not allowed to file a reply to Esurance’s affirmative defenses

  to Counter-Defendants’ abated bad faith claim. Simply put, bad faith is not a component of this

  lawsuit, and Counter-Defendants cannot press forward with litigating such issues at this time.

         II.     LEGAL STANDARD

         Under Rule 12(f), the Court may strike from any pleading any insufficient defense, or any

  redundant, immaterial, impertinent, or scandalous matter. Fed. R. Civ. P. 12 (f). District courts

  have “broad discretion” in exercising the power to strike and will grant such motions where the

  defense is insufficient as a matter of law. See Morrison v. Exec. Aircraft Refinishing, Inc., 434 F.

  Supp. 2d 1314, 1317 (S.D. Fla. 2005). An affirmative defense is insufficient as a matter of law

  where the defense is patently frivolous on its face or if it is clearly invalid as a matter of law. Id.

  at 1318 (citing Anchor Hocking Corp. v. Jacksonville Elec. Auth., 419 F. Supp. 992, 1000 (M.D.

  Fla. 1976)). Although motions to strike are disfavored, they “may be extremely valuable” because

  they “weed[] out legally insufficient defenses at an early stage” and “avoid the needless

  expenditures of time and money[.]” Sec. & Exch. Com. v. Weil, No. 79-440 Civ-T-H., 1980 U.S.

  Dist. LEXIS 12144, at *2 (M.D. Fla. Feb. 7, 1980) (citation omitted).




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         Further, affirmative defenses are insufficient as a matter of law if they fail to meet the

  general pleading requirements of Federal Rule of Civil Procedure 8(a), which requires a “short and

  plain statement” of the asserted defense. See Elec. Commun. Techs., LLC v. Clever Ath. Co., LLC,

  221 F. Supp. 3d 1366, 1368 (S.D. Fla. 2016) (explaining that affirmative defenses “are subject to

  the same pleading scrutiny imposed by Rule 8(a) and Twombly/Iqbal” such that “[f]ormulaic

  recitations filled with labels and conclusions without factual allegations are insufficient”);

  Rubinstein v. Keshet Inter Vivos Trust, No. 17-61010-Civ, 2019 U.S. Dist. LEXIS 99428, at *15-

  16 (S.D. Fla. June 13, 2019) (acknowledging unresolved intra-circuit split as to standards for

  pleading affirmative defenses, but concluding that Twombly applies and noting that “a majority of

  courts” have agreed to use the more-stringent pleading requirements for affirmative defenses);

  Incardone v. Royal Carribean Cruises, Ltd., No. 16-20924-CIV-MARTINEZ/GOODMAN, 2019

  U.S. Dist. LEXIS 108778 (S.D. Fla. Jun. 28, 2019) (adopting heighted pleading standard for

  affirmative defenses).

         Finally, affirmative defenses are insufficient if they are not in fact affirmative defenses.

  “By its very definition, ‘an affirmative defense is established only when a defendant admits the

  essential facts of a complaint and sets up other facts in justification or avoidance.’ Thus,

  a defense which simply points out a defect or lack of evidence in a plaintiff’s case is not

  an affirmative defense.” Morrison, 434 F. Supp. 2d at 1318 (internal citation omitted; emphasis in

  original). Affirmative defenses are also distinct from denials. Myers v. Cent. Fla. Invs., Inc., 592

  F.3d 1201, 1224 (11th Cir. 2010). See also Dierdorf v. Advanced Motion Therapeutic Massage,

  No. 19-CIV-62609-RAR, 2020 U.S. Dist. LEXIS 261280, at *1 (S.D. Fla. Apr. 20, 2020) (striking

  “barebones denial”).




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         III.    THE PLEADINGS GOVERN AND SHAPE DISCOVERY AND THE
                 PROHIBITION ON CLAIMS HANDLING DISCOVERY PRIOR TO
                 MATURATION OF A BAD FAITH CLAIM

         Parties may only obtain discovery regarding nonprivileged matters that are relevant to the

  claims or defenses as set forth in the pleadings and proportional to the needs of the case. See Fed.

  R. Civ. P. 26(b)(1). As explained more fully below, Counter-Defendants’ attempt to inject issues

  of bad faith into this pure insurance coverage action is not only improper, but will also prejudice

  Esurance. For example, Florida and federal law prohibit bad faith discovery prior to the maturation

  of a bad faith claim. Accordingly, federal courts applying Florida law consistently deny discovery

  of claim file-related materials on grounds of prematurity and irrelevance when, like here, bad faith

  is not at issue. See, e.g., Ranger Constr. Indus. v. Allied World Nat’l Assur. Co., No. 17-81226-

  CIV-Marra/Matthewman, 2018 U.S. Dist. LEXIS 59004 (S.D. Fla. 2018) (finding that discovery

  is premature where there is no ripe bad faith claim); Commercial Long Trading Corp. v. Scottsdale

  Ins. Co., No. 12-22787-CIV, 2012 U.S. Dist. LEXIS 184885, 2012 WL 6850675 (S.D. Fla. Dec.

  26, 2012); Hauger v. John Hancock Life Ins. Co., (U.S.A.), No. 8:07-CV-1711-T-EAJ, 2008 U.S.

  Dist. LEXIS 8413, at *17-18 (M.D. Fla. Feb. 5, 2008) (“Generally, a party may obtain discovery

  of a claim file when bad faith is alleged. Plaintiff’s complaint does not assert a bad faith claim

  against John Hancock. Thus, John Hancock has shown good cause not to produce the claim files

  or correspondence in response to Document Request No. 3.”) (internal citation omitted); Salzbach

  v. Hartford Ins. Co., No. 8:12-cv-01645-TMAP, 2013 U.S. Dist. LEXIS 192766, at *10-11 (M.D.

  Fla. Apr. 19, 2013) (granting in part carrier’s motion for protective order and sustaining relevance

  objections to requests for claims file and claims-handling related matters, including company

  standards: “Several courts have stated that claims files and documents related to claims handling

  procedures are irrelevant in a breach of contract action. Plaintiffs have asserted only one claim in



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  this action, breach of contract.”) (collecting cases; citations omitted); Hiscox Ins. Co. v. Arlington

  Auto Sales, Inc., No. 3:18-cv-1206- J-34JBT, 2020 U.S. Dist. LEXIS 100137, at *4-5 (M.D. Fla.

  Feb. 18, 2020) (denying in part motion to compel in coverage action, noting that defendant “does

  not explain how the claim file is relevant and proportional regarding the issue of coverage”;

  “[a]lthough ‘there is no all-encompassing privilege which protects claims files,’ in this case

  Defendant is not entitled to discovery of Plaintiff’s claim file. ‘Discovery of an insurer’s claim and

  litigation file is not permissible in an action to determine coverage [even] when that action is

  combined with a bad faith action until the insurer’s obligation to provide coverage has been

  established.’ As such, ‘[a] trial court departs from the essential requirements of the law in

  compelling disclosure of the contents of an insurer’s claim file when the issue of coverage is in

  dispute and has not been resolved’”) (citations omitted); Royal Marco Point 1 Condo. Ass’n v.

  QBE Ins. Corp., No. 2:07-cv-16-FtM-99SPC, 2009 U.S. Dist. LEXIS 136847, at *7 (M.D. Fla.

  Mar. 27, 2009) (ordering production of claims file with the exception of attorney client privileged

  material given that “coverage issues have now been resolved,” noting that “unless and until the

  underlying coverage is determined, and a statutory bad faith action lodged under § 624.155, Florida

  Statutes, the insurer’s claim file is irrelevant and beyond the scope of permissible discovery”).

         IV.     ARGUMENT

                 A.      The First Affirmative Defense Is Insufficient as a Matter of Law

         In the First Affirmative Defense, Counter-Defendants allege that because “Patricia

  Counselman did not sign the Named Driver Exclusion Endorsement,” the endorsement is

  supposedly “invalid by its own terms,” and “Plaintiffs’ accident claims were therefore covered

  claims under the Policy that were wrongfully denied by Esurance.” See [D.E. 44] at 6.




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         This defense is improper as it is a barebones denial of Esurance’s allegation of a valid

  exclusion endorsement and a cursory legal conclusion that coverage is somehow afforded under

  the policy. See Aidone v. Nationwide Auto Guard, L.L.C., 295 F.R.D. 658, 661 (S.D. Fla. 2013)

  (striking affirmative defenses that are redundant and simply denials of plaintiff’s claim); Lima v.

  Heng Xian, Inc., No. 09-61422-CIV, 2009 U.S. Dist. LEXIS 122200, 2009 WL 4906374, at *1

  (S.D. Fla. Dec. 18, 2009) (noting that merely “pointing out a defect in plaintiff’s prima facie case

  is not an affirmative defense”); Adams v. Jumpstart Wireless Corp., 294 F.R.D. 668, 671 (S.D.

  Fla. 2013) (citing In re Rawson Food Serv., Inc., 846 F.2d 1343, 1349 (11th Cir. 1988)) (noting

  that “a defense that simply points out a defect or lack of evidence in the plaintiff’s case is not an

  affirmative defense”).

         Although not directly characterized as such, this defense can be rephrased simply as

  Esurance fails to state a claim upon which relief can be granted because Counselman did not sign

  the exclusion endorsement. This, however, is not an affirmative defense. See, e.g., Boldstar Tech.,

  LLC v. Home Depot, Inc., 517 F. Supp. 2d 1283, 1292 (S.D. Fla. 2007) (striking defense that

  plaintiffs failed to state a claim upon which relief can be granted because “[f]ailure to state a claim

  is a defect in the plaintiff’s claim; it is not an additional set of facts that bars recovery

  notwithstanding the plaintiff’s valid prima facie case”); Birren v. Royal Caribbean Cruises, Ltd.,

  336 F.R.D. 688, 697 (S.D. Fla. 2020) (“An assertion that a pleading fails to state a claim is not a

  valid affirmative defense.”). Likewise, to the extent the defense alleges that coverage exists (and,

  to be clear, absolutely no facts are pled supporting the existence of coverage under the policy), that

  again is a denial of Esurance’s allegations, not an affirmative defense. Because this “affirmative

  defense” is insufficient as a matter of law, it should be stricken.

                 B.        The Second Affirmative Defense is Insufficient as a Matter of Law



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         In the Second Affirmative Defense, Counter-Defendants allege that “[t]he Named Driver

  Exclusion Endorsement is a forgery or is otherwise unauthorized, inauthentic, and invalid.

  Plaintiffs’ accident claims were therefore covered claims under the Policy that were wrongfully

  denied by Esurance.” See [D.E. 44] at 6. Essentially, Counter-Defendants’ affirmative defense

  attempts to plead fraud by forgery, though it does so in vague and conclusory fashion without any

  underlying factual support. See Rubinstein v. Keshet Inter Vivos Trust, No. 17-61019-Civ-

  WILLIAMS/TORRES, 2018 U.S. Dist. LEXIS 185666, at *1-2 (S.D. Fla. Oct. 29, 2018)

  (recognizing that forgery is “the fraudulent making or alteration of a writing to the prejudice of

  another’s rights” and noting that “[f]raud by forgery is a subject well known to lawyers and Judges

  for generations”) (citing 4 Blackstone, Commentaries 247-48 (Christian ed. 1809)).

         In addition to the general heightened pleading standard required for asserting affirmative

  defenses, Counter-Defendants’ Second Affirmative Defense is also specifically subject to Rule

  9(b’s) more onerous particularity standard for claims sounding in fraud: “In alleging fraud or

  mistake, a party must state with particularity the circumstances constituting fraud or mistake.” Fed.

  R. Civ. P. 9(b). In other words, Rule 9(b) requires offering far more than conjecture, and a pleading

  “must lay out ‘the who, what, when, where, and how of the allegedly false statements and then

  allege generally that those statements were made with the requisite intent.’” Millstein v. Holtz, No.

  21-CV-61179-RAR, 2022 U.S. Dist. LEXIS 151350, at *16 (S.D. Fla. Aug. 23, 2022) (quoting

  Mizzaro v. Home Depot, Inc., 544 F.3d 1230, 1237 (11th Cir. 2008)). The pleading needs to be

  “clear,” at minimum, as to the “source of the alleged misrepresentations and omissions” and “when

  such misrepresentations and/or omissions were made,” among other items. See id.

         Here, the asserted defense does not meet these heightened pleading thresholds. It lacks

  factual support as to the most basic components to support a “forgery” or “fraud” defense, such as



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  who committed the alleged wrongdoing, when this occurred, where this act took place, why it

  occurred, and how the exclusion endorsement at issue is “otherwise unauthorized, inauthentic, and

  invalid.” See Susan Fixel, Inc. v. Rosenthal & Rosenthal, Inc., 842 So. 2d 204, 208 (Fla. 3d DCA

  2003) (recognizing that the elements of a fraud claim are (1) a false statement concerning a specific

  material fact; (2) the maker’s knowledge that the representation is false; (3) an intention that the

  representation induce another’s reliance; and (4) consequent injury by the other party acting in

  reliance upon the representation); see also ADA v. Cigna Corp., 605 F.3d 1283, 1291 (11th Cir.

  2010) (recognizing that under Rule 9(b) a plaintiff must allege fraud by setting forth: (1) the precise

  statements, documents, or misrepresentations made; (2) the time, place, and person responsible for

  the statement; (3) the content and manner in which these statements misled the Plaintiffs; and (4)

  what the defendants gained by the alleged fraud). These deficiencies are most alarming considering

  that Esurance—not Plaintiffs—is the victim of the alleged fraud. Indeed, Plaintiffs remarkably

  seek to use an alleged wrongdoing committed against Esurance to Esurance’s exclusive detriment

  to obtain coverage. Against this backdrop, it must be emphasized that Plaintiffs should have

  available to them at this juncture all information and details surrounding the alleged forgery.

         Federal Rule of Civil Procedure 9(b) demands more than platitudes and vagaries, and it

  requires counsel to conduct investigations upfront to support fraud-type claims. In short, Counter-

  Defendants cannot raise a fraud-based defense generally (again, to Esurance’s sole detriment), and

  then seek to obtain information in discovery to sustain that defense retroactively. See Friedlander

  v. Nims, 755 F.2d 810, 813 n.3 (11th Cir. 1985), abrogated on other grounds in Wagner v. Daewoo

  Heavy Indus. Am. Corp., 314 F.3d 541, 542 (11th Cir. 2002) (“The particularity rule serves several

  purposes. Its clear intent is to eliminate fraud actions in which all the facts are learned through

  discovery after the complaint is filed.”) (internal citations omitted)); D.H.G. Props., LLC v. Ginn



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   Cos., LLC, No. 3:09-cv-735-J-34JRK, 2010 U.S. Dist. LEXIS 140208, at *35-36 (M.D. Fla. Sept.

   28, 2010) (explaining that “Rule 9(b)’s very purpose is to protect from discovery defendants facing

   inadequately pled fraud claims,” the “‘particularity requirement of Rule 9 is a nullity if [a party]

   gets a ticket to the discovery process without adequately pleading a claim,” and parties cannot

   place the “discovery cart before the pleading horse”).

          The Second Affirmative Defense, at its core, is little more than a barebones denial of the

   allegations set forth in Esurance’s pleading. To the extent, moreover, the defense asserts without

   any factual support that coverage somehow exists under the Policy in light of the alleged forgery,

   it does not explain how that is so or by what mechanism. Esurance is left to guess, which thwarts

   the very purpose of notice pleading. See United States ex rel. Heater v. Holy Cross Hosp., Inc.,

   510 F. Supp. 2d 1027, 1033 (S.D. Fla. 2007) (explaining that pleading is designed to “provide[] a

   reasonable delineation of the underlying acts and transactions allegedly constituting the fraud”

   such that the defendants have “fair notice of the nature of plaintiff’s claim and the grounds upon

   which it is based”) (citation omitted); see also Dierdorf, 2020 U.S. Dist. LEXIS 261280, at *2

   (S.D. Fla. 2020) (finding an affirmative defense as legally insufficient where the affirmative

   defense raises the doctrine of estoppel, is conclusory in nature and lacks necessary detail). In this

   respect, if Plaintiffs intend to maintain that Esurance is somehow prohibited from challenging

   coverage (which Esurance is not), it is their obligation to raise this defense properly. See, e.g.,

   Rubinstein, 2019 U.S. Dist. LEXIS 99428, at *19-20 (“[T]o allege an affirmative defense of waiver

   or estoppel, a party must allege and provide factual support for each of their respective elements.

   ‘[W]aiver, [and] estoppel . . . are equitable defenses that must be pled with the specific elements

   required to establish the defense.’”) (citation omitted). Accordingly, the second “affirmative

   defense” should be stricken at this time.



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                  C.      The Third, Fourth, Fifth, Sixth, and Seventh Affirmative Defenses Are
                          Insufficient as a Matter of Law

          Counter-Defendants’ third, fourth, fifth, sixth and seventh affirmative defenses are

   improper as they repackage the abated bad faith allegations and squarely invoke Esurance’s claims

   handling even though such matters are undeniably premature and beyond the scope of the instant

   coverage action. See [D.E. 42]. By expressly attempting to re-inject bad faith matters into this case,

   Plaintiffs mock the Court’s Omnibus Order and again seek to transform this action into a bad faith

   dispute. For instance, in the Third Affirmative Defense, Counter-Defendants allege that “Esurance

   breached its fiduciary duties and acted in bad faith and with unclean hands by failing to timely

   and properly investigate the authenticity and validity of the Named Driver Exclusion Endorsement

   after being advised of its invalidity by its named insured,” see [D.E. 44] at 6 (emphasis added); in

   the Fourth Affirmative Defense, Counter-Defendants allege “Esurance breached its fiduciary

   duties and acted in bad faith and with unclean hands by failing to defend and indemnify its

   insureds after being informed that the Named Driver Exclusion Endorsement had not been signed

   by its named insured,” see id. (emphasis added); in the Fifth Affirmative Defense, Counter-

   Defendants allege “Esurance breached its fiduciary duty by failing to timely investigate the

   validity of the Named Driver Exclusion Endorsement when it was advised that it has not been

   signed by its named insured and allowed a money judgment to be entered against its insured. It is

   therefore estopped from disputing the validity of said money judgment or its obligation to pay

   same,” see id. at 6-7 (emphasis added); in the Sixth Affirmative Defense, Counter-Defendants

   allege “Esurance breached its fiduciary duty by failing to timely investigate the validity of the

   Named Driver Exclusion Endorsement when it was advised that it had not been signed by its named

   insured and allowed a money judgment to be entered against its insureds more than four years

   later. It is therefore barred by the doctrine of laches from disputing the validity of said money


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   judgment or its obligation to pay same,” see id. at 7 (emphasis added); in the Seventh Affirmative

   Defense, Counter-Defendants allege “Esurance breached its fiduciary duties and acted in bad

   faith and with unclean hands by failing to resolve the underlying lawsuit within the underlying

   policy limits when it had the ability to do so.” Id. (emphasis added).

           The common unifying feature of these five (5) affirmative defenses is that they

   unequivocally seek a run-around of the Court’s Omnibus Order holding that bad faith matters are

   premature, Esurance’s duty to indemnify claim is not time barred, and that Esurance’s

   counterclaim is not “subsumed by the issues raised in Plaintiffs’ bad faith complaint.” See [D.E.

   42]. By boldly asserting that Esurance is now barred from disputing its obligation to pay the

   underlying final judgment, Plaintiffs effectively seek reconsideration and a do-over on issues

   adjudged unfavorably against them. See Havana Docks Corp. v. Carnival Corp., No. 19-cv-21724

   BLOOM/MCALILEY, 2022 U.S. Dist. LEXIS 110789, at *9 (S.D. Fla. June 21, 2022) (parties

   are not entitled to a “second bite at the apple” and to rehash arguments and positions previously

   rejected).

           Counter-Defendants’ affirmative defenses track—almost identically—Florida law

   addressing the contours of an insurer’s duty of good faith and the considerations to be had in a bad

   faith action. Under Florida law, an insurer’s fiduciary duty of good faith includes, among others,

   a duty to investigate the facts, give fair consideration to a settlement offer that is not unreasonable

   under the facts, and to settle, if possible, where a reasonably prudent person, faced with the

   prospect of paying the total recovery, would do so. See Boston Old Colony Ins. Co. v. Gutierrez,

   386 So. 2d 783, 785 (Fla. 1980). The instant affirmative defenses directly implicate these matters

   and recast many of the allegations in Plaintiffs’ bad faith complaint. See, e.g., [D.E. 1-1] at ¶¶ 15,




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   16, 19, 20, 22, 28-32. Through no uncertain terms, Plaintiffs intend to litigate bad faith issues in

   this coverage action.

          Importantly, in granting Esurance’s Motion to Stay or in the Alternative Abate Plaintiffs’

   Bad Faith Action [D.E. 24], the Court ruled that “[a]s discussed on the record at the Hearing, it is

   well settled in Florida law that in third-party insurance cases, a court must first determine coverage

   and liability issues before reaching the issue of bad faith.” [D.E. 42]. In view of Florida law

   governing insurance bad faith claims, the Court abated Counter-Defendants’ bad faith action

   “pending adjudication of the coverage issues presented in [Esurance’s] counterclaim for

   declaratory judgment as to its duty to indemnify.” Id. Yet despite this ruling, Counter-Defendants

   evidently seek to litigate matters on their own terms. The Court need not indulge them.

          Not only is the consideration of Esurance’s duty of good faith and claims handling

   improper at this juncture, see [D.E. 24, 29, 42], the affirmative defenses are clearly intended to

   open the door to premature bad faith discovery. Esurance will be prejudiced if these defenses are

   not stricken. See, e.g., Dennis v. Nw. Mut. Life Ins. Co., No. 3:06-cv-43-J-20MCR, 2006 U.S. Dist.

   LEXIS 19578, at *10 (M.D. Fla. Apr. 14, 2006) (“Florida courts have held that allowing references

   to an insurer’s alleged bad faith actions into evidence during litigation involving a coverage dispute

   will prejudice the insurer and could distort the jury’s view of the coverage issue.”); CNL Hotels &

   Resorts, Inc. v. Twin City Fire Ins. Co., No. 6:06-cv-324-Orl-31JGG, 2006 U.S. Dist. LEXIS

   75003, at *4 (M.D. Fla. Oct. 16, 2006) (recognizing that a carrier “would clearly be prejudiced by

   having to litigate either a bad faith claim or an unfair settlement practices claim in tandem with a

   coverage claim because the evidence used to prove either bad faith or unfair practices could well

   jaundice the jury’s view of the coverage issue”); Nat’l Union Fire Ins. Co. v. Fla. Crystals Corp.,

   No. 14-CV-81134, 2016 U.S. Dist. LEXIS 195345, at *8-9 (S.D. Fla. Apr. 12, 2016) (granting



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   protective order because “despite Defendants’ Affirmative Defenses and Counterclaim, which

   generally allude to bad faith and misrepresentation, this is not a bad faith action. Rather, it is a

   first-party insurance coverage action”).

          “Under Florida law, discovery of an insurer’s claims and litigation file is not permissible

   until the insurer’s obligation to provide coverage has been established.” Fla. Crystals. Corp., 2016

   U.S. Dist. LEXIS 195345, at *13. See also Am. Empire Surplus Lines Ins. Co. v. Warehousing Co.,

   No. 13-14028-CIV-MOORE/LYNCH, 2013 U.S. Dist. LEXIS 199644, at *5 (S.D. Fla. Nov. 27,

   2013) (granting protective order and explaining that in a declaratory judgment coverage action,

   bad faith-type discovery concerning claim handling is “premature and/or subject of attorney-client

   privilege and work product protection”). Simply put, this is not a bad faith action, and the issues

   in this case must remain firmly focused on the narrow coverage matters at hand—not on bad faith

   issues that are not before the Court and very well may never be.

          In any event, should the Court determine that these bad faith affirmative defenses escape

   the Omnibus Order’s broad scope, they should be stricken because they either constitute denials

   of Esurance’s allegations or they fail to allege with factual support the requisite elements

   underlying unclean hands, estoppel, and laches. See, e.g., Georgetown Trading Co., LLC v. Venturi

   Spirits, LLC, No. 14-62277-CIV, 2015 U.S. Dist. LEXIS 181132, at *8 (S.D. Fla. May 8, 2015)

   (striking unclean hands affirmative defense where defendant “failed to allege the necessary

   elements” such that it was “unclear how Defendants allege to have suffered personal injury with

   respect to Plaintiff’s conduct”); Phila. Indem. Ins. Co. v. Fla. Mem’l Univ., No. 17-CIV-21133,

   2018 U.S. Dist. LEXIS 4549, at *8-9 (S.D. Fla. Jan. 9, 2018) (striking estoppel affirmative defense

   where defendant “has not pled the specific elements of estoppel or provided any factual support

   for its defense”); Wyndham Vacation Ownership, Inc. v. Square One Dev. Grp., Inc., No. 6:20-cv-



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   643-RBD-EJK, 2022 U.S. Dist. LEXIS 93560, at *12 (M.D. Fla. Feb. 2, 2022) (striking estoppel

   affirmative defense where “Defendants’ allegations do not address the elements of estoppel and

   do nothing to put Plaintiffs on notice of the alleged representations, any reliance by Defendants on

   such representations, or a detrimental change in position by Defendants as a result of reliance on

   the representations”); Fine’s Gallery, Ltd. Liab. Co. v. From Eur. to You, Inc., No. 2:11-cv-220-

   FtM-29SPC, 2011 U.S. Dist. LEXIS 132257, at *6 (M.D. Fla. Nov. 16, 2011) (striking laches

   affirmative defense because it “does not allege any facts as to any of the theories which would

   establish a plausible defense,” including “that plaintiff delayed asserting a right or claim, the delay

   was not excusable, and there was undue prejudice”).



                  D.      The Eighth Affirmative Defense Is Insufficient as a Matter of Law

          In the Eighth Affirmative Defense, Counter-Defendants allege that “[w]hoever signed the

   Named Driver Exclusion Endorsement was not Patricia Counselman’s agent and lacked authority

   to sign [the] name on her behalf.” See [D.E. 44] at 7. As with Counter-Defendants’ other defenses,

   this is merely a barebones conclusory denial of Esurance’s allegations. See Myers v. Cent. Fla.

   Invs., Inc., 592 F.3d 1201, 1224 (11th Cir. 2010); see also Dierdorf, 2020 U.S. Dist. LEXIS

   261280, at *1 (striking “barebones denial”). Accordingly, this defense should be stricken.

                  E.      The Ninth Affirmative Defense Is Insufficient as a Matter of Law

          In the Ninth Affirmative Defense, Counter-Defendants allege that “[t]he amount or basis

   of the money judgment entered is outside the scope of this declaratory judgment action” and that

   Esurance “fail[s] to state a cause of action for which relief may be granted to the extent it asks the

   Court to declare anything other than coverage with respect to the underlying state court judgment.”

   See [D.E. 44] at 7.



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          This supposed affirmative defense fails. First, the Court has already accepted jurisdiction

   and rejected Counter-Defendants’ previous argument that Esurance’s “requested relief is outside

   the proper scope of the Declaratory Judgment Act.” See [D.E. 42] at 2 n.3. Second, Esurance’s

   counterclaim does not seek any determination other than its duty to indemnify anyone with respect

   to the subject accident, the underlying lawsuit, and the underlying final judgment. See [D.E. 43].

   And finally, even if the counterclaim sought to challenge the “amount or basis of the money

   judgment entered,” which it does not, this would still not be an affirmative defense but rather a

   supposed defect in Esurance’s claim. See, e.g., Boldstar Tech., LLC, 517 F. Supp. 2d at 1292;

   Birren, 336 F.R.D. at 697. Accordingly, this “affirmative defense” should be stricken.



                  F.      Counter-Defendants Were Not Authorized to File a Reply to
                          Esurance’s Affirmative Defenses

          On August 2, 2022, the Court entered the Omnibus Order in which it abated the then-

   pending bad faith complaint and directed Esurance to file an amended pleading after which

   Counterclaim-Defendants were to “file an answer or response to Defendant’s Amended

   Counterclaim.” See [D.E. 42] at 2. The Court did not authorize Counterclaim Defendants to file a

   reply to Esurance’s then-pending affirmative defenses nor did the Court in any manner signal that

   continued litigation or pleadings in connection with the abated bad faith complaint was

   appropriate. See Fed. R. Civ. P. 7(a) (providing that a reply to an answer is permitted only if the

   court orders one); Fed. R. Civ. P. 12(a)(1)(C) (providing that a party must serve a reply to an

   answer only after being served with an order to reply). Likewise, Esurance expressly stated in its

   amended pleading that it “only amended the counterclaim and third-party complaint allegations

   rather than the answer and affirmative defenses portion of the pleading, yet it refile[d] the entire




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   document as a whole to conform to the Court’s directive to ensure clarity and cleanliness of the

   record.” See [D.E. 42] at 1 n.1.

          Counter-Defendants, accordingly, have no right or basis to reply to Esurance’s affirmative

   defenses. This portion of Counter-Defendants’ pleading should be stricken. See, e.g., Hansen v.

   Wheaton Van Lines, No. 05-80376-CIV-RYSKAMPNITUNAC, 2005 U.S. Dist. LEXIS 60754

   (S.D. Fla. Aug. 24, 2005) (striking plaintiffs’ reply to affirmative defenses, noting that plaintiffs’

   filing was not permitted under the Federal Rules of Civil Procedure and that the Federal Rules

   “relieve a party from the common law burden that new matters raised in affirmative defenses will

   be deemed admitted unless additional facts are pled that would avoid the defenses”); Beisel v.

   Finan, No. 8:17-cv-995-T-27AAS, 2017 U.S. Dist. LEXIS 180282, at *1 (M.D. Fla. Oct. 31, 2017)

   (striking reply and noting that “[n]o reply to an answer or affirmative defenses is permitted unless

   ordered by the Court”).

          IV.     CONCLUSION

          Accordingly, for the reasons set forth above, Esurance respectfully requests that the Court

   (1) grant this Motion; (2) strike each of Counter-Defendants’ affirmative defenses; (3) strike

   Counter-Defendants’ reply to Esurance’s affirmative defenses; and (4) grant such other and further

   relief as the Court deems just and proper.

                CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

          Pursuant to S.D. Fla. Local Rule 7.1(a)(3), counsel for Esurance certifies that on September

   7, 2022 he conferred with counsel for Counter-Defendants in a good faith effort to resolve some

   or all of the issues raised herein but has been unable to resolve such issues.

          Respectfully Submitted,




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                                                     Attorneys for Esurance Insurance Company


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on September 8, 2022, I electronically filed the foregoing

   document with the Clerk of Court using the Court’s CM/ECF system. Copies of the foregoing

   document will be served upon all counsel of record either via transmission of Notices of Electronic

   Filing generated by CM/ECF or in some other authorized manner for those counsel or parties who

   are not authorized to receive electronically Notices of Electronic Filing.

                                                    s/ Rory Eric Jurman
                                                    Rory Eric Jurman




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